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UNITED STATES DISTRICT COURT G/W

WESTERN DISTRICT OF TENNESSEE r~
Western Division d

UNITED STATES OF AMERICA

_vs_

 

CALVIN MCNARY
a/k/a CALVIN MCNAIRY

 

ORDER OF DETENTION PEND|NG TRlAL
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(1`), a detention hearing has been
held on defendant’s Motion for Bond Hearing, filed Ju]y l, 2005. The following facts and
circumstances require the defendant to be detained pending tria].

No condition or combination of conditions of release Will reasonably assure the

appearance of the defendant as required or the safety of any other person and the
community.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

D|RECT|ONS REGARD|NG DETENT|ON

CALVIN MCNARY
AKA CALVIN MCNAIRY is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal CALVIN MCNARY
AKA CALVIN MCNAIRY shall be afforded a reasonable opportunity for private consultation With defense counsel.
On order of a Coult of the United States or on request of an attorney for the government, the person in charge of the

corrections facility shall deliver the Defendant to the United States marshal for the purpose of an appearance in
connection with a Court proceeding

Date: July 27, 2005

 

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

This document entered on the dock

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with Flu!e 55 and/or 32(b) FHCrP on _QM

   
  

   

   

  
 

UNITED sTATE D"ISIC COURT - WESTERN D's'TRCT oFTENNESSEE

    

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 55 in
case 2:05-CR-20142 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

